       Case: 3:16-cr-00101-jdp Document #: 136 Filed: 12/13/17 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                           Plaintiff,                              ORDER
  V.
                                                         Case No. 16-cr-101-jdp-5
CHAD ALLEN PETERSON,

                           Defendant.                     ,.



       The defendant in the above-entitled case has been:

                 convicted of the charge against him and no appeal is pending.
               · Therefore, it is directed that the passport be transferred to the U.S.
                 State Department.

               The State Department is not to reissue a passport without approval of
               U.S. Probation while the defendant remains on supervision.

          D convicted of the charge against him and no appeal is pending.
            Therefore, it is directed that the passport be transferred to the ICE
               Regional Office in Milwaukee, Wisconsin.

            acquitted of the charge against him and/or the charge against him has
          D been dismissed. Therefore, it is directed that the passport be returned
               to the defendant or his authorized representative.

            Defendant is deceased. Therefore, it is directed that the passport be
          D returned to the State Department.

                   /f1L
       Signed this 0    day of December, 201 7.




                                         STEPHEN L. CROCKER
                                         Magistrate Judge
